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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                11/8/2021
                                                                       :
SH BEAUTY INC.,                                                        :
                                                                       :
                                    Plaintiff,                         :
                                                                       :       21-cv-08322 (LJL)
                  -v-                                                   :
                                                                       :      NOTICE OF INITIAL
FACE LACE LTD,                                                         :    PRETRIAL CONFERENCE
                                                                       :
                                    Defendant.                         :
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LEWIS J. LIMAN, United States District Judge:

         This case has been assigned to me for all purposes. It is hereby:

       ORDERED that counsel for all parties appear for an Initial Pretrial Conference by
TELEPHONE on December 21, 2021, at 12:00 p.m. Parties are directed to dial into the Court's
teleconference number at 888-251-2909, Access Code 2123101, and follow the necessary
prompts.

        IT IS FURTHER ORDERED that, by one week prior to conference, the parties jointly
submit to the Court a proposed Case Management Plan and Scheduling Order. A template is
available at https://www.nysd.uscourts.gov/hon-lewis-j-liman. This document should be filed
electronically on ECF, consistent with the Court’s Individual Practices in Civil Cases, which are
available on the same webpage. Parties should consult the Individual Practices for guidance on
the matters to be discussed at the Initial Pretrial Conference and for the Court’s rules with respect
to communications with Chambers and other procedural matters.

        The time period for any Defendant intending to move to dismiss pursuant to Federal Rule
of Civil Procedure Rule 12 will be extended until further order of the Court upon the filing of a
simple letter with the Court within the time permitted under Federal Rule of Civil Procedure
12(a) and prior to the time the above-mentioned submission is made. Such letter should simply
indicate in one sentence the Defendant’s intent to make a motion to dismiss.

         Counsel for Plaintiff is ordered to notify Defendant of this Notice.


         SO ORDERED.

Dated: November 8, 2021                                     __________________________________
       New York, New York                                              LEWIS J. LIMAN
                                                                   United States District Judge
